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v. h `
Defendant(s) /q_F-}“?M H£K €§,QFJBQ}M'I&WN;§O 36 iii-ng Od§dge ®F£ }éE/); /JZ)QM
MOTION FOR APP%`§§¥G GW,H“$§WWHH

ME'NT on t: oUNsEL

[NOTE: F ailure to complete all items in this form may result' 111 the denial ot the motion f`or appointment of counsel]

1. I, 30 in n K ‘FP th»)&- ,declare that I am the (check appropriate box)

- plaintiff |:| defendant i:1 th .-1 above-entitled proceeding and state that l am unable to afford
the services of an attomey, and hereby request the Court to appoint counsel to represent rne in this proceeding.

 

2. In support of'nay motion, l deciare that I have made the following attempts to retain counsel to represent rne in

this proceeding[N()TE: This item must be completed]: Chffj,g/¢d/;g,¢:’ /L) /;§Qé“¢=£€.#f; /j/ 5`__
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3. In tiirther support of my motion i declare that (check appropriate box):

I am not currently, nor previously have been, represented by an attorney appointed by the Court
in this or any other civil cr criminal proceeding before this Court.

|:| l am currently, or previously have been, represented by an attorney appointed by the Court
in the proceeding(s) described on the back of this page.
4. In further support of my motion, I declare that (check appropriate hox):

E I have attached an original Application for Leave to Proceed 111 Formo Pauperz's in the proceeding
detailing my financial status

I have previously filed an Application for Leave to Procced 111 Formn Pcttgaert`s in this proceeding, and
it is a true and correct representation of my financial status.

|:| I have previously filed an Application for Leave to Proceed fn For)ur.t Pauperis in this proceeding

However, my financial status has changed and I have attached an Amended Application to Proceed fn
Formo Paaperz's to reflect my current financial status.

  

 

5. l declare under penalty that the foregoing is true and correct
P. 0.£01¢:15/%93_
’s Signature Street Address

 

 

 

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Date City,State, iP l

 

